(1 of 2), Page 1 of 2            Case: 25-1677, 03/24/2025, DktEntry: 25.1, Page 1 of 2




                                                              U.S. Department of Justice
                                                              Civil Division, Appellate Staff
                                                              950 Pennsylvania Ave. NW, Rm. 7212
                                                              Washington, DC 20530

                                                                                     Tel: 202-514-4820

              VIA CM/ECF
                                                              March 24, 2025
              Ms. Molly C. Dwyer
              U.S. Court of Appeals for the
                 Ninth Circuit
              95 7th Street
              San Francisco, CA 94103

              RE:       American Federation of Government Employees v. U.S. Office of Personnel
                        Management, No. 25-1677 (9th Cir.)

              Dear Ms. Dwyer:

                    On March 14, 2025, the federal government filed an emergency motion in
              this Court under Circuit Rule 27-3 for a stay pending appeal of the district court’s
              preliminary injunction. The government filed its reply in support of that motion on
              March 20, and, in that filing, the government requested a decision from the Court
              by March 21 at noon, Pacific Time, indicating that it planned to seek relief from
              the Supreme Court thereafter if necessary.

                     We write to inform the Court that, today, the federal government submitted
              to Justice Kagan an emergency application to stay the district court’s injunction.
              See OPM v. AFGE, No. 24A904 (S. Ct.). The government also requested an
              immediate administrative stay.

                        We continue to request that this Court grant the pending stay motion.
(2 of 2), Page 2 of 2           Case: 25-1677, 03/24/2025, DktEntry: 25.1, Page 2 of 2




                                                              Sincerely,

                                                              s/ Joshua M. Koppel

                                                              Joshua M. Koppel
                                                              Attorney, Appellate Staff

              cc:       counsel (via CM/ECF)




                                                          2
